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 1 MCGREGOR W. SCOTT
   United States Attorney
 2 TIMOTHY H. DELGADO
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                         Case No. 2:18-cr-0055-KJM

12                               Plaintiff,            ORDER RE: GOVERNMENT’S UNOPPOSED
                                                       MOTION TO STAY TRIAL PROCEEDINGS
13                         v.

14   THOMAS WAYNE CAPENHURST                           Hearing:     January 14, 2019
     and ROBERT LEE MCGRAW,                            Time:        9:00 a.m.
15                                                     Judge:       Hon. Kimberly J. Mueller
                                 Defendants.
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18                                                  ORDER
19          Plaintiff United States of America has moved to stay proceedings in this Court pending issuance

20 of the Ninth Circuit’s mandate on the government’s interlocutory appeal in United States v. Capenhurst,

21 et al., no. 18-10458. Defendants Capenhurst and McGraw do not oppose this request. For good cause

22 shown, and based on the reasons set forth in the government’s motion, IT IS HEREBY ORDERED that

23 further proceedings in this matter are STAYED until issuance of the Ninth Circuit’s mandate in United

24 States v. Capenhurst, et al., no. 18-10458.

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      ORDER RE: GOVERNMENT’S MOTION TO STAY TRIAL      1
      PROCEEDINGS
              Case 2:18-cr-00055-KJM Document 48 Filed 12/19/18 Page 2 of 2

 1          The Court further finds that the period of time from November 27, 2018 (when the government

 2 filed its notice of appeal), to the date of the issuance of the Ninth Circuit’s mandate on the government’s

 3 appeal in 18-10458 is deemed excludable, pursuant to 18 U.S.C. § 3161(h)(1)(C), because it constitutes

 4 delay resulting from an interlocutory appeal.

 5          SO ORDERED.

 6 Dated: December 17, 2018.

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                                                            UNITED STATES DISTRICT JUDGE
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      ORDER RE: GOVERNMENT’S MOTION TO STAY TRIAL       2
      PROCEEDINGS
